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MIDDLE DISTRICT OF FLORIDA... ... 25) ey 2055
JACKSONVILL DIVISION » =) oiiici ts Fit

CIVIL RIGHTS COMPLAINT FORM
WALI SALEEM, 037727,
Plaintiff,
v. CASE NO: 31\S-Cv -\19S-3- 2g PDB

JURY TRIAL DEMANDED

CORIZON HEALTH INC., et. al,

Wali Saleem, DC# 037727
Union Correctional Institution
7819 N.W. 228th Street
Raiford, Florida 32026

In Propria Persona.
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I. Place of resident confinement:

Union Correctional Institution, Raiford, Florida.

II. Exhaustion of Administrative Remedies:

1. Informal Grievance (on Form DC3-005) to Doctor Paul Scheider was
filed. Doctor Scheider broke the grievance protocol by not responding within 10
calendar days following receipt of the Informal Grievance. It should be noted that
Inmates are not required to utilize Informal Grievances in case of Medical
Grievance. See 33-103.005 Informal Grievance.

2. Plaintiff filed Formal Grievance on Form DCI-303 to the Office of the
Warden on June 12, 2015. See Exhibit A in Appendix. On July 15, 2015 a Formal
response was rendered. See Exhibit B.

3. In as much as the formal resolution procedures were not satisfactory
resolution, Plaintiff then filed appeal to the Office of the Secretary on Form DCI-
303 on July 27, 2015. See, Exhibit C.

4, Secretary’s response on Appeal. See Exhibit D.

NOTE: To properly exhaust remedies a prisoner in Florida must “complete
the Administrative rules “....RULES THAT ARE DEFINED NOT BY THE
PLAR, BUT BY THE PRISON GRIEVANCE PROCESS ITSELF:”

Ill. PREVIOUS LAWSUITS: None.

A. No.

B. No.

C. N/A.

| through 8 are not applicable.
D. N/A.

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SPECIAL NOTE:

The Plaintiff is at a distinct disadvantage in trying to discover the identity of
those who were directly responsible for the delay in his treatment. He has provided
the required information available so the United States Marshal to complete service

of the complaint upon all known persons named as Defendant.

IVv. PARTIES:
A. Name of Plaintiff: Wali Saleem, DC# 037727

Mailing address: Union Correctional Institution
7819 N.W. 228" Street
Raiford, Florida 32026-4000

DEFENDANTS:
Name: Corizon Health Inc.
Mailing address: 12647 Olive Blvd.

St. Louis, Missouri 63141

WOODROW A. MYERS, JR.

CHIEF OPERATING OFFICER, of Corizon Health Inc.
103 Powell Ct.
Brentwood, Tn. 37027

STUART K. CAMPBELL,
PRESIDENT AND COO
Corizon Regional Office (Region II)

Mailing address: 2627 N.W. 43" Street (Suite 202—Second Floor)
City: Gainesville, State: Florida Zip: 32606

RHONDA ALMANZA,

VICE-PRESIDENT OF OPERATIONS (Region II)

Corizon Regional Office

Mailing address: 2627 N.W. 43" Street (Suite 202—Second Floor)
City: Gainesville, State: Florida Zip: 32606

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HELEN SNEED,

DIRECTOR OF OPERATIONS (Region IJ)

Corizon Regional Office

Mailing address: 2627 N.W. 43™ Street (Suite 202—Second Floor)
City: Gainesville, State: Florida Zip: 32606

TERESA WOODAL,
INFECTION CONTROL COORDINATOR (Region IT)
Corizon Regional Office

Mailing address: 2627 N.W. 43™ Street (Suite 202—Second Floor)
City: Gainesville, State: Florida Zip: 32606

Each and every Defendant aforementioned is sued in his or her individual
and official capacities. They are responsible for insuring that prison inmates
receive adequate medical care. If individual disclaims knowledge, he or she can

identify those responsible in Region II.

CORIZON’S POLICY SHOULD BE VIEWED
THROUGH A HISTORICAL PRISM

In August, 2013, the Florida Department of Corrections awarded a lucrative
1.2 billion dollars, five-year contract to Corizon Health Inc., a Prison Healthcare
Provider. This action placed the responsibility of prisoners medical care squarely
and exclusively into the hands of Corizon for 41 facilities in Northern and Central
Florida. It should be mentioned that Corizon Health Inc., was formerly known as
Prison Health Services, Inc., The Gainesville Regional Office is particularly
responsible for the provision of comprehensive health services in Region II, where
the Union Correctional Institution is located.

The Internet provides many avenues for researching the background of

Corizon should the Court wish to avail itself of this fortuitous information
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highway. For instance, the very influential Palm Beach Post Newspaper
Investigative Reporter, Pat Beall, won the 2014 Hillman Foundation Award. Her
eight-month multipart series, “Private Prisons: Profits, Politics and Pain,” linked
striking similarities in human rights abuses to corporate cost-cutting. These articles
provide an important historical context, which offers very well researched, very
insightful antidotes of patients suffering from debilitating diseases such as cancer
and hepatitis C are often treated with Tylenol or Aspirin. These vignettes of tragic
and horrifying negligence are oft-repeated template. It’s not exactly a stretch to
realize this “Health Care” Conglomerate strives to minimize costs while increasing

its revenue at the expense of patients.

SUPERVISORY LIABILITY IN GENERAL:

The Supervisory Officials who promulgate and implementing polices that
are enforced by subordinates are liable if the enforcement of the policy causes a
violations of federally protected rights.

Corizon has been sued over 660 time for malpractice in the last five years
alone. A Miami-Herald Investigation found that, “Nearly half of those cases
remain open. Of those that are closed, 91 — one in four — ended with confidential
settlements that Corizon declined to discuss.”

Many of the Lawsuits arose out of striking similarities in facts and a failure
to act on information indicating that the unconstitutional acts were occurring
makes Defendant Woodrow A. Myers and Defendant Stuart K. Campbell liable for
their subordinates enforcement of company policy.

Further, the subordinates were acting (or failing to act) based on Corizon’s
polices. Supervisory Officials were personally responsible for creating the policies,
practices and customs. Furthermore, they managed the day-to-day operation of the

unsavory business.
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The Florida Legislature recognizes that Medical Science stresses early
diagnosis and treatment are critical factors in successfully treating these life-
threatening diseases. Aspirins and / or Tylenol only treat the symptoms, not the
underlying disease causing the physiological complications.

It should be noted that it is a fact Corizon Health Inc. was fined by the
Florida Department of Corrections in May of 2014 for failing a series of
performance audits conducted over the year. The fine is a slap on the wrist for
Corizon compared to the millions and millions of dollars Corizon saved by these

deficiencies.

V. STATEMENT OF CLAIM.

 

Plaintiff was informed in June, 2014 by (then) treating physician, Doctor
Linda Melendez Torres (hereinafter referred to as Doctor Melendez), that he
suffered from Hepatitis C, a very serious liver disease and ailment that was
advancing. It was physician’s assessment that there was an exponential increase in
the odds against patient should there be undue delay in drug treatment.

In December of 2014, Doctor Melendez, in accordance with Corizon’s
protocol, implemented written application in which she recommended Wali
Saleem be treated with the drug “Harvoni.”

The physician assured Plaintiff “Harvoni” was a new drug for treating
Hepatitis C infections in adults, which had a high potency against said disease, and
consequently very expensive.’

Doctor Melendez further explained this new generation of ‘breakthrough’
drug treatment, viz, the Hepatitis C standard of care, which will cure Plaintiff's
infection in three months from its inception.

This new drug “Harvoni,” a formulary drug by Gilead Sciences approved by
the FDA in October, 2014, combines Sovaldi and Ledipasvir.

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Harvoni achieved cure rates of 96 to 99% in trials and shortened treatment
sometimes to as little as eight weeks, but it usually takes twelve weeks of treatment
to cure the disease.

The Federal Bureau of Prisons (BOP), Centers for Disease Control, FDA,
U.S. Public Health Service and Veterans Administration have recognized this
change. In May of 2014, a BOP Clinical Practice Guidelines Report, entitled
“Interim Guidance for the Management of Chronic Hepatitis C Infection,” noted
that the use of Sofosbuvir (Sovaldi) and Simepaevir in combination with
Peqinterferon and / or Ribavirin is the “preferred treatment reqimen”’.

Because the new HCV drugs are being denied due to non-medical reasons
(e.i., “COST*) despite being the current standard of care constitutes deliberate
indifference in violation of the Eighth and Fourteenth Amendments.

As indicated, medical personnel acting within the scope of their employment
with Corizon, informed Wali Saleem that it was “undisputed that he ha Hepatitis C
—a very serious liver disease and ailment was advancing.

Physician Linda Maris Melendez-Torres put Corizon Health on direct notice
that timely course of drug treatment for Wali Saleem’s Hepatitis C was necessary
and Corizon Health bears the responsibility for implementing said drug treatment
in a timely fashion. Doctor Melendez-Torres recommended the drug “Harvoni”
(Sovaldi), a new drug for treating Hepatitits C Virus infection in adults. Corizon’s
Medical personnel instituted protocol for treatment of Hepatitis C that
encompasses non-treatment modalities that included treatments as A.T.P.
Alternative Treatment Plan, that actually parceled Aspirins and Water Pills in lieu
of much more expensive drugs Alpha-Interferon and an Antiviral drug called
Ribavirin.

It is contrary to the spirit and provisions of Corizon’s contract to treat
chronic disease with Aspirins and / or Water Pills. The proviso about chronic

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diseases can be found on page 8 of contract, second paragraph. The relevant
section provides:

“Intervention for inmates with chronic disease must meet

Generatly recognized standard of care.”

The Plaintiff has done some sleuthing. The generally recognized standard of
care for patients with Hepatitis C is treatment with a custom tailored combination
of a drug called Alpha Interferon and an Antiviral drug called Ribavirin. The
Alternative Treatment Plan which involves Aspirins and Water Pills are
dangerously substandard treatment and departs in so stark a manner from
“recognized standard of care” mandated by contract that it constitutes deliberate
indifference.

Additionally, the delay of proper treatment for such obviously serious
condition, where it is apparent that delay would detrimentally exacerbate the
medical problem, is medically unjustified and repugnant to the Eighth Amendment
to the United States Constitution. Furthermore, inadequate medical care also
violates Article I, Section 17 of the Florida Constitution. This provision forbade
“cruel or unusual punishment.” The foregoing statement is intended as an
informational statement, not arguments.

The Defendants failed to provide that level of diagnostic care that their own
doctors believed necessary. Despite Plaintiff's requests, Corizon ha not afforded
treatment during extended time frame through September 28", 2015. Medical
personnel employed by Corizon matter-of-factly admit the underlying reasoning to
delay Plaintiff's treatment with Life-saving pharmaceuticals is the cost factors.

As previously stated, Corizon has devised a substandard treatment program
which is so cursory as to amount to no treatment at all. The parody of putting
chronic disease patients on Aspirins or Water Pills demonstrates a certain amoral
ruthlessness. Time is critical where patient is affected with Hepatitis C. Corizon’s

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policy of delay places the patient at great risk, arises a multitude of effects, none
good.

These various symptoms are a precursor to further degeneration of internal
organs, opportunistic infections such as cirrhosis and / or end stage liver cancer.
Plaintiff's condition has become worse and now “potentially” life-threatening.
Corizon’s failure to treat in a timely fashion, inter alia, ultimately led to needless
and extreme abdomen pain, emotional distress, fatigue and overall decreased life-
style.

SYMPTOMS OF HEPATITIS C:

Symptoms of disease are usually fatigue, poor appetite, and nausea with
vomiting. Pain in the abdomen above the liver and fever. Jaundice (a yellowish
discoloration of the skin) appears. Dark urine indicate the liver is not working

properly in removing a reddish yellow pigment called ‘bilirubin’ from the blood.

GENERALLY RECOGNIZED STANDARD OF CARE:

Hepatitis C is usually treated with a combination of a drug called Alpha
Interferon and an antiviral drug called Ribavirin. According toe Doctor Quinone,
there is no recognized Alternative Treatment Plan for Hepatitis C... only antiviral

drug treatments as specified above.

IN REGARD TO PLAINTIFF’S PRESENT SYMPTOMS:

1. A severe loss of weight. In June of 2014 prisoner weighed 220 pounds
and stood five foot eleven inches in height. As of August 18, 2015 Saleem’s
weight has plummet to only 170 Ibs, which represents a loss of 55 lbs.

2. Prisoner suffers from severe pain in abdomen daily.
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3. Severe fatigue daily basis.
4. Apprehensive about and fearfully anticipates future.

5. Can't sleep much at night.

As a result of this already unreasonable delay, Plaintiff's health underwent
considerable erosion. Harm may be already truly irreparable in the sense that it is
beyond remediation.

On August 18, 2015 Plaintiff was interviewed by Medical-Service

Contractor Physician, Doctor Lester Quinone, the Fourth Clinician in Fifteen

Months.
Doctor confirmed Doctor Melendez and put Corizon Health Inc., on direct
notice that timely course of treatment for Inmate Saleem’s Hepatitis C was

necessary. Physician had a list of names at his immediate disposal and was kind

enough to show Saleem that his name was on the list. Simply stated, Corizon’s

protocol places Plaintiff on a list which has in excess of two hundred other
Hepatitis patients affected by the viruses.
Ergo Sum, Corizon’s policy mandates an indeterminate waiting period.

Petitioner could face too lengthy time period before he would be able to start

treatment, thus endangering his life.

Doctor Quinone let the proverbial “Cat out of the Bag’ when the physician

candidly and commendably conceded “that Corizon seems to be treating severely
sick patients and many inmates have died before they received the necessary

treatment because it is too late for the medication to have any healing effect.”

Doctor acknowledged Saleem’s condition had gotten worse and now is

becoming “potentially” life threatening. The interview was concluded with
physician promising to renew prescriptions for Aspirin and Water Pill, failing to

provide proper medication to inmates for Hepatitis C and cancer until they’re

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nearly dead is one way of cutting cost apparently.

VI. STATEMENT OF FACTS:

The pertinent facts - - - either undisputed or, where disputed, taken most
favorably to the Plaintiff - - - are as follows:

The Plaintiff, prisoner Wali Saleem, is an inmate in the custody of the
Florida Department of Corrections and is currently incarcerated at the Union
Correctional Institution located in Raiford, Florida by virtue of a criminal
conviction not relevant for the purposes of this Civil Rights Action.

In 2014, Inmate began experiencing symptoms of fever, aching body and
sweating profusely. Doctor Linda Melendez, the treating physician noticed a
decline in prisoner’s health, and prescribed blood tests.

In June, 2014 Doctor Melendez informed Plaintiff that he tested positive for
Hepatitis C, a very serious, degenerative liver disease which requires immediate
treatment. At this time prisoner’s liver enzymes were 141.

Lab test performed in July, 2014, showed a further increase in liver enzymes
to 189. Subsequently, in August, 2014, prisoner was given an ultra sound and
subjected to a Third blood test. Doctor Melendez summed up her diagnosis, by
reassuring Saleem that his ultra sound looked alright and liver disease was
treatable. During this conference Doctor Melendez recommended a new drug
“Harvoni” (Sovaldi). She indicated this was a twelve (12) week program in which
the patient would be given one pill a week, indicating this medicine ha a success
rate of approximately 95% to 99%,

On November 18, 2014, Doctor Melendez, apprising Saleem his liver
enzyme count ha dramatically increased to over 200. Additionally, physician

informed Saleem that by this time there was severe damage but his liver was still

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treatable. On November 24", 2014, a technician secured three more vials of blood.

On December 18, 2014, Doctor Melendez made out forms necessary for
treatment of Hepatitis C in accordance with agency’s policy. Physician assured
Saleem that application and al of the blood tests results would be forwarded to
Corizon for approval.

On May 5", 2015, Plaintiff was summoned to T-Building. This Unit is being
used as a temporary medical center by Corizon.

Mrs. S. Johnson, a Medical File Clerk, specifically required Wali Saeem to
sign a compliance form acknowledging that he should go through grievance
process regarding his complaint with Corizon. This only after numerous phone
calls from Saleem’s sister, Sandra Lindsey.

As of September 28", 2015 Corizon Health Inc. has absolutely failed to
provide prescribed medication for condition recognized by specialists as a life-
threatening inflammation of liver. Studies show that Hepatitis C is a public health
concern because this liver-wasting disease surpassed AIDS as a cause of death
during 2007, [in the U.S.] claiming an estimated 15,000 lives in that year alone.

The excessive delay in receiving drug therapy after the early diagnosis of
Hepatitis C is “Deliberate Indifference” to his serious medical needs, possibly
shortening his life expectance. In failing to act Corizon has allowed the ongoing
replication of Hepatitis C, possible Cirrhosis of the liver and / or end-stage liver

caner are now a real possibility.

RELIEF BEING SOUGHT:

1). To ensure the best outcome for Plaintiffs health this Honorable Court
should issue an order directing Defendant, Corizon Health Inc., and its agents to:

A. Immediately arrange for Plaintiff's need for Hepatitis C Antiviral drug to

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be evaluated by a Hematologist. It may be possible all secondary symptoms
underlying to Hepatitis C may reverse and desist with life preserving drug therapy
prayed for.

AWARD COMPENSATORY DAMAGES IN THE FOLLOWING AMOUNTS:

One million dollars from Defendant Corizon Health Inc., (formally known
as Prisoner Health Service, Inc.) for inexcusable delay in drug therapy
recommended by physician to treat Hepatitis C, which is recognized as
degenerative, painful, and potentially life-threatening disease if the need is unmet.
Reimbursement of miscellaneous expenses incurred while prosecuting 1983 Civil
Rights Action.

On hundred thousand dollars from Defendants Woodrow A. Myers, Stuart
K. Campbell, Rhonda Almanza, Helen Sneed, Teresa Woodall, Dr. Timothy
Whalen, Ruth Fettner, each and every defendant is sued in his or her individual and

official capacities.

AWARD PUNITIVE DAMAGES IN THE FOLLOWING AMOUNTS:

Three million dollars against Defendant Corizon Health Inc., for increasing
its revenue by withholding critical antiviral drug treatment from Plaintiff Saleem
which was not only medically unjustified but also detrimentally exacerbated
prisoner's condition.

To assess the propriety of the punitive damages prayed for, the Plaintiff
contends this swollen conglomerate dilatory tactics increased its revenue at the
expense of unnecessary and wanton infliction of pain and emotional distress. A
jury could reasonably find Corizon’s profits comes at the expense of certain sick
disfavored minorities.

Further, the Plaintiff seeks three hundred thousand dollars in punitive

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damages from Defendant’s Woodrow A. Myers, Stuart K. Campbell, Rhonda
Almanza, Helen Sneed, Teresa Woodall, Dr. Timothy Walen, and Ruth Fettner,
each and every defendant is sued in his or her individual and official capacities.

The employee / defendants of Corizon situated at Corizon Regional Office
(Region II) at Gainesville, Florida must have full knowledge of what is going on.

The “prevailing party” is entitled to attorney fees for cost of District Court
litigation under Civil Rights Attorney’s Fee Award Act.

The Court grant such other relief as it may appear that the Plaintiff is entitled
to correct a current and ongoing violation of prisoner’s federally protected right
under the Eighth Amendment.

The prisoner / Plaintiff is not open to the possibility of ending case through
disposition. Should Wali Saleem become incapacitated during the pendency of this
suit, Gail Alexander, Plaintiff's biological sister has his Power of Attorney where
there appears a “hindrance” to brother’s ability to protect his own interest.

Should Plaintiff die pending trial, the Estate belongs to sisters, Sandra
Lindsey and Gail Alexander.

Respectfully submitted,

VI ae
Wali Saleem, DC#037727
Union Correctional Institution
7819 N.W. 228th Street
Raiford, Florida 32026-4000

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STATE OF FLORIDA )

)
COUNTY OF UNION )

BEFORE ME, the undersigned authority, this day appeared Wali Saleem,
prison I.D. Number 037727, who presented Prison Photo Identification Card. The
Affiant, who first being sworn, says that he has read the foregoing 1983 Civil
Rights Complaint. Further, the Affiant has personal knowledge of the facts and
matters therein set forth and confirms that each and al of the facts and matters are
true and correct.

Respectfully submitted,

Wali Saleem, DC#037727
Union Correctional Institution
7819 N.W. 228th Street
Raiford, Florida 32026-4000

SWORN AND SUBSCRIBED BEFORE
ME this A ) day of September, 201
l
NOTARY PUBLIC

My Commission Expires:

 

ANTON
HELLA SO 16020

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CERTIFICATE OF SERVICE

I CERTIFY that under penalty of perjury that this Complaint and Six

necessary copies for defendants were hand delivered to prison official authorized

to accept outgoing Lega Mail on this B@/day of __,5 z ar, , 2015

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aE
Wali Saleem, DC#037727
Union Correctional Institution
7819 N.W. 228th Street
Raiford, Florida 32026-4000
